                                                                                                                                       Rev (3-2018)
                                                                 United States Bankruptcy Court
                                                              SOUTHERN DISTRICT OF ALABAMA

       IN RE:                                                                                       Case No. 19-10439

       Richey A Presley                                                                             Chapter 13

       April LeShea Presley

       SSN:        xxx-xx-2951                                                        SSN: xxx-xx-1296

       Date: February 7, 2019

                                                                             CHAPTER 13 PLAN
                                                                        Check if this is an Amended Plan

      CREDITOR'S RIGHTS WILL BE AFFECTED BY THIS PLAN. You should read this and other documents sent to you
      carefully and discuss them with your attorney.

      TO FILE AN OBJECTION TO CONFIRMATION. Objections to Confirmation must be filed electronically at the
      Bankruptcy Court’s website at www.alsb.uscourts.gov, or you may scan the documents into the ECF system at the
      courthouse. Objections to Confirmation must be filed seven (7) days before the confirmation hearing.

      PROOFS OF CLAIM. Proofs of claim must be filed electronically at the Bankruptcy Court's website at
      www.alsb.uscourts.gov, or you may scan the documents into the ECF system at the courthouse.

      THIS PLAN DOES NOT ALLOW CLAIMS. Creditors must file a Proof of Claim to be paid.

       MOTION TO EXTEND PLAN                                                                               INCLUDED       NOT INCLUDED
       NONSTANDARD PROVISIONS, SET OUT IN PART 12(d)                                                       INCLUDED       NOT INCLUDED

      1.          PAYMENT AND LENGTH OF PLAN

      For 60 months Debtor(s) will make regular monthly payments to the trustee as follows:

      $183.00 per month for 60 months

      Plan payments shall be paid directly to the Chapter 13 Trustee at the following address: P.O. Box 1779, Memphis, TN
      38101-1779. The Chapter 13 Trustee shall pay the filing fee from Plan payments.

      2.          SECURED PRECONFIRMATION ADEQUATE PROTECTION PAYMENTS AND PAYMENTS TO
                  LESSORS

      The Debtor proposes that the Trustee make adequate protection payments, or payments to lessors prior to the confirmation of
      this Plan, pursuant to § 1326(a)(1) as follows:

                          CREDITOR                                         COLLATERAL DESCRIPTION                     AMOUNT OF MONTHLY
                                                                                                                          PAYMENT
       Alabama Title Loans                                           2002 Toyota Tacoma                                                  5.00
       Alabama Title Loans                                           1995 Saturn SL                                                      5.00

      The Trustee shall commence making such payments to creditors holding allowed claims secured by an interest in real and
      personal property or leases of real and personal property consistent with the Trustee’s distribution process and only after the
      timely filing of a proof of claim by such creditor. In the event of preconfirmation conversion and/or dismissal, all adequate
      protection payments received by the Trustee shall be distributed to creditors as so designated. The Trustee shall receive the
      percentage fee fixed under 28 U.S.C. §586(e) on all adequate protection payments. Upon confirmation the treatment of such
      claims will be governed by Sections 3 and 5.

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      3.          POST-CONFIRMATION SECURED ALTERNATE MONTHLY PAYMENTS

      The debtor proposes that the Trustee make the following Alternate Monthly Payments (AMP) beginning on the first
      distribution after entry of a Confirmation Order and until such time as the Attorney’s fees provided for in Section 4 are paid
      in accordance with Amended Local General Order No. 4.

                             CREDITOR                                     COLLATERAL DESCRIPTION                      AMOUNT OF AMP
                                                                                                                        PAYMENT
       Alabama Title Loans                                           2002 Toyota Tacoma                                                   5.00
       Alabama Title Loans                                           1995 Saturn SL                                                       5.00

      4.         ATTORNEY'S FEES FOR DEBTOR(S)' BANKRUPTCY COUNSEL

      The following attorney's fees shall be paid by the Trustee pursuant to Amended Local General Order No. 4.

                DEBTOR'S COUNSEL                                                  TOTAL FEE
       Michael D. Brock BRO152                                                                          4,000.00

      5.         SECURED BY COLLATERAL

      Unless otherwise ordered by the Court, the Trustee shall treat the secured claim(s) listed in this section on the terms and
      conditions set forth herein. Any portion of a secured claim that exceeds the amount(s) set forth in this section shall be paid as
      a general unsecured claim pursuant to Section 9.

                   CREDITOR                                     COLLATERAL                SECURED CLAIM       INTEREST      §1325(a)(5)
                                                                DESCRIPTION                  AMT PAID           RATE
                                                                                          THROUGH PLAN
       Alabama Title Loans                            2002 Toyota Tacoma                             700.00        5.25               38.00
       Alabama Title Loans                            1995 Saturn SL                                 200.00        5.25               11.00
      Debtor shall pay all other allowed secured creditors in full pro-rata after payments set forth in Sections 5 and 6.

      6.          DOMESTIC SUPPORT OBLIGATIONS

      The Debtor proposes that the Trustee shall pay the following pre-petition Domestic Support Obligations (DSO) pursuant to
      §507(a)(1) unless the claimant agrees or the Court orders otherwise. The DSO creditor shall receive the proposed AMP
      payment along with the secured creditors listed in Section 3. Once the Attorney’s fees are paid in full, the DSO creditor shall
      be paid the proposed preference payment along with secured creditors listed in Section 5. The Debtor shall directly pay all
      Domestic Support Obligations that become due after the filing of the petition.

                       CREDITOR                                 SCHEDULED ARREARAGE             AMOUNT OF AMP             PREFERENCE
                                                                                                  PAYMENT                  PAYMENT
       -NONE-

      7.      CURING DEFAULTS AND MAINTAINING DIRECT PAYMENTS

      Debtor shall maintain the following monthly payments and pay them directly to creditor. Trustee shall pay the allowed claims
      for arrearages at 100% pro-rata through this Plan after payments set forth in Sections 5 and 6.

                      CREDITOR                               COLLATERAL DESCRIPTION             DIRECT PAYMENT            SCHEDULED
                                                                                                                          ARREARAGE
       -NONE-




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      8.          PRIORITY CLAIMS (EXCLUDING DOMESTIC SUPPORT OBLIGATIONS)

      The Debtor will pay all priority claims pursuant to §1322(a)(2) in full, pro rata unless claimant expressly agrees otherwise.

                     CREDITOR                                             TYPE OF PRIORITY                     SCHEDULED AMOUNT
       State of Alabama                                  Taxes and certain other debts                                                2,288.00

      9.     UNSECURED CLAIMS

      Allowed non-priority unsecured claims shall be paid through the distribution of all available disposable income at a percentage to
      be determined by the Trustee for the number of months set forth in Section 1. No interest shall be paid on general unsecured
      claims.

      10.         SURRENDERED PROPERTY

      Debtor surrenders the following collateral. Upon confirmation, the automatic stay (under §§ 362(a) and 1301 (a)) is lifted as
      to surrendered collateral. Any claim submitted by such creditor will receive no distribution under this Plan until an unsecured
      proof of claim is filed by such creditor.

                                              CREDITOR                                              COLLATERAL DESCRIPTION
       -NONE-

      11.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES

      Executory contracts and/or leases receive the following designated treatment. For all executory contracts or unexpired leases
      being assumed by the Debtor pursuant to this Plan, the Debtor shall make all pre-confirmation § 1326 adequate protection
      payments directly to the creditor pursuant to the terms of the contract. For all contracts assumed, the Debtor shall continue to
      make all payments directly to the creditor pursuant to the terms of the contract following the confirmation of the Debtor’s
      Plan.

       CREDITOR                                                      PROPERTY DESCRIPTION                   REJECT             ASSUME
       None

Prepetition lease arrears shall be paid directly to creditor by Debtor(s) on all assumed leases. Claims filed on rejected leases shall
be treated as general unsecured claims.

      12.         OTHER PLAN PROVISIONS AND MOTIONS

      (a)                  Property of the Estate
                           Property of the Estate shall re-vest in the Debtor(s) upon discharge or dismissal of the case. Proceeds from any
                           potential or pending cause of action or other asset not yet liquidated are property of the Estate and must be paid
                           to the Chapter 13 Trustee pending further order of the Court.

      (b)                  Direct Payment by Debtor
                           Secured creditors and lessors to be paid directly by the Debtor(s) and/or Co-Debtors may continue to mail to
                           Debtor(s) the customary monthly notices or coupons notwithstanding the automatic stay.

      (c)                  Exemption Limitations
                           The Debtor(s)’ exemptions in real and personal property are specifically limited to those allowed under
                           applicable state and federal laws. To the extent that Debtor(s)’ asset values exceed allowable exemption limits,
                           the non-exempt portions shall be Property of the Estate and subject to distribution by the Trustee. The terms of
                           this provision shall not be construed to limit or abrogate the rights of parties in interest to object to exemptions
                           pursuant to the Bankruptcy Code, or in any way limit the Debtor(s)’ rights regarding the postpetition equity
                           accrual of assets.



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      (d)                  Other Provisions of the Plan Not Elsewhere Described:


       /s/ Richey A Presley                                                               February 7, 2019
       DEBTOR'S SIGNATURE                                                                 DATE


       /s/ April LeShea Presley                                                           February 7, 2019
       DEBTOR'S SIGNATURE                                                                 DATE



       /s/ Michael D. Brock                                                               February 7, 2019
       DEBTOR'S COUNSEL'S SIGNATURE                                                       DATE




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